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                                     Warren H. Smith & Associates, P.C.
                                               325 North St. Paul Street
                                                     Suite 1275
                                                  Dallas, TX 75201



 Invoice submitted to:
 W.R. Grace & Co.
 7500 Grace Drive
 Columbia MD 21044



 October 31, 2004

In Reference To:          Bankruptcy Fee Audit Case #01-1139 (JKF)

Invoice #      10526


            Professional Services

                                                                                                  Hours      Amount

10/1/2004 SLB      begin review of app. and draft of 13th Interim initial report - Wallace King       7.90   1,027.00
                   (7.9)

10/4/2004 JAW detailed review of Carella August, 2004, monthly invoices (1.8)                         1.80    243.00


            SLB    complete draft of 13th Interim initial report - Wallace King (8.3)                 8.30   1,079.00


            JAW detailed review of Wallace King July, 2004, monthly invoices (1.7)                    1.70    229.50


10/5/2004 CO       Update database with 07.04 Monthly Invoice of Kramer (.10); 08.04                  0.80     32.00
                   Monthly Invoice of Bilzin (.10); 06.04 and 05.04 Monthly Invoice of
                   Swindler (.10); 07.04 Monthly Invoice of Pachulski (.10); 07.04 Monthly
                   Invoice of Holme (.10); 08.04 Monthly Invoice of Klett (.10); 04.04, 05.04,
                   and 06.04 Monthly Invoice of Deloitte (.10); 08.04 Monthly Invoice of
                   Capstone (.10);

            PGS Preparation of September 2004 Monthly Invoice of WHS                                  0.70     56.00


10/6/2004 JBA      draft e-mail to C. Hartman re: electronic documents (.1)                           0.10       4.00


            JBA    Update database with Reed Smith 8.04, and Phillips 5/6.04 pdf and 7.04             0.10       4.00
                   pdf




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W.R. Grace & Co.                                                                                              Page       2

                                                                                                     Hours      Amount

 10/6/2004 SLB     complete review of app. and draft of 13th Interim initial report - Capstone         8.60     1,118.00
                   (8.6)

           PGS Preparation of CNO for August 2004                                                      0.10           8.00


 10/7/2004 PGS Electronic filing with court of September 2004 Monthly Invoice of WHS                   0.10           8.00


           JAW detailed review of Latham December 1, 2003 to June 30, 2004 monthly                     4.00      540.00
               invoices (3.5); draft summary of same (0.5)

           JAW detailed review of Kirkland July, 2004 monthly invoice (6.0)                            6.00      810.00


           SLB     PACER research for 13th Interim applications (3.6)                                  3.60      468.00


           SLB     set up Grace 13th flow chart (1.8) ; begin draft of 13th Interim initial report     4.80      624.00
                   - K&E (3.0)

           PGS Electronic filing with court of CNO for August 2004                                     0.10           8.00


           WHS receive and review agenda                                                               0.10          27.50


 10/8/2004 DTW Review and revise Wallace King, K&E and Capstone initial reports for 13th               0.30          43.50
               period (.3)

           SLB     complete draft of 13th Interim initial report - K&E (8.6)                           8.60     1,118.00


           JAW detailed review of Swidler June, 2004 monthly invoice (1.8); draft summary              2.20      297.00
               of same (0.4)

           JAW detailed review of Capstone August, 2004 monthly invoice (1.6); draft                   1.70      229.50
               summary of same (0.1)

           JAW detailed review of Kirkland July, 2004 monthly invoice (3.9); draft summary             4.80      648.00
               of same (0.9)

           JBA     Update database with Phillips 8.04 e-detail                                         0.10           4.00
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                                                                                                 Hours        Amount

 10/9/2004 JAW detailed review of Deloitte May, 2004 monthly invoice (1.5); draft summary            1.60      216.00
               of same (0.1)

10/10/2004 JAW detailed review of Deloitte April, 2004 monthly invoice (1.8); draft summary          1.90      256.50
               of same (0.1)

10/11/2004 JAW detailed review of Deloitte June, 2004 monthly invoice (1.1)                          1.10      148.50


            SLB    complete draft of 13th Interim initial report - Protiviti (8.4)                   8.40     1,092.00


10/12/2004 DTW Review and revise PwC and Protivity 13th interim initial reports (.2).                0.20          29.00


            JAW draft summary of Deloitte June, 2004, monthly invoice (0.2)                          0.20          27.00


            SLB    complete drafts of 13th Interim initial reports PwC and CBBG (8.7)                8.70     1,131.00


            JBA    Update database with Wallace King 8.04 e-detail, and Ferry Joseph 8.04            0.10           4.00
                   e-detail

10/13/2004 SLB     complete review of 13th Interim applications and drafts of final reports -        8.30     1,079.00
                   Reed Smith (3.7) ; RPWB (2.7) ; Elzufon (1.9)

            JBA    draft e-mail to CBBG (M. Flax) attaching 13th Interim IR                          0.10           4.00


10/14/2004 DTW Review and revise GBBG initial report 13th period (.1).                               0.10          14.50


            SLB    complete drafts of 13th Interim final reports - HRO (2.3); Hamilton (1.4) ;       8.30     1,079.00
                   Woodcock (2.7) ; Campbell (1.9)

            JBA    Update database with Bilzin 9.04 e-detail                                         0.10           4.00


            JBA    Update database with Caplin 8.04, Campbell 8.04, and Tersigni 8.04                0.10           4.00


            JBA    Update database with Stroock 9.04                                                 0.10           4.00
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                                                                                                    Hours        Amount

10/15/2004 CO      Update database with 08.04 Monthly Invoice of Pitney (.10); 08.04 Monthly            0.20           8.00
                   Invoice of Pachulski (.10)

           WHS receive and review agenda                                                                0.10          27.50


           SLB     complete review of apps. and drafts of 13th Interim initial report -                 7.00      910.00
                   Blackstone (3.9) ; Tersigni (2.2) ; Legal (.9)

10/18/2004 JBA     Update database with Hamilton 8.04 e-detail                                          0.10           4.00


           JBA     Update database with Carella 7.04 - 9.04 e-detail                                    0.10           4.00


           JBA     Update database with Kramer 7.04 e-detail                                            0.10           4.00


           JBA     Update database with Capstone 8.04 e-detail                                          0.10           4.00


           JBA     Update database with PWC 8.04 e-detail                                               0.10           4.00


           SLB     complete drafts of 13th Interim final reports - CBBG (2.8); Klett (1.4);             8.60     1,118.00
                   Pitney Hardin (3.3); Nelson Mullins (1.1)

           CO      Update database with 08.04 Monthly Invoice of Hamilton (.10); 04.01.04               0.40          16.00
                   through 06.30.04 Interim Fee Application of Holme (.10); 05.24.04 through
                   06.30.04 Monthly Invoice of Philips (.10); 07.04 Monthly Invoice of Protiviti
                   (.10)

10/19/2004 DTW Review and revise Blackstone 13th initial report (.1).                                   0.10          14.50


           SLB     Pacer research regarding 13th Interim quarterly apps. - FTIPM, Ferry                 4.70      611.00
                   Joseph, Swidler Berlin, Phillips Goldman, Goodwin Proctor, Latham and
                   Bilzen (4.7)

           SLB     complete draft of 13th Interim final report - PwC (3.7)                              3.70      481.00


           CO      Update database with 08.04 Monthly Invoice of Kirkland (.10); 08.04                  0.90          36.00
                   Monthly Invoice of Caplin (.10); 08.04 Monthly Invoice of Philips (.10);
                   08.04 Monthly Invoice of Wallace (.10); 08.04 Monthly Invoice of Campbell
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                                                                                                      Hours     Amount

                   (.10); 08.04 Monthly Invoice of Tersigni (.10); 09.04 and 08.04 Monthly
                   Invoice of Carella (.10); 04.01.04 through 06.30.04 Interim Fee Application
                   of Kirkland (.10); 08.04 Monthly Invoice of Reed (.10)

10/20/2004 JBA     Update database with Pachulski 8.04 e-detail                                        0.10           4.00


           SLB     complete review of app. and draft of 13th Interim initial report - Swidler (8.5)    8.50     1,105.00


           CO      Update database with 08.04 Monthly Invoice of Ferry (.10)                           0.10           4.00


10/21/2004 JBA     Update database with Duane Morris 9.04 pdf e-detail                                 0.10           4.00


           JAW detailed review of Protiviti July, 2004, monthly invoice (3.2); draft summary           3.50      472.50
               of same (0.3)

           SLB     complete review of apps. and drafts of 13th Interim initial reports - Latham        8.80     1,144.00
                   (6.4) ; FTIPM (2.4)

           JAW draft summary of Carella August, 2004, monthly invoice (0.5)                            0.50          67.50


10/22/2004 SLB     draft e-mails to BMC, Conway, Deloitte, Goodwin, Steptoe, Kramer re.                2.40      312.00
                   13th Interim applications (2.4)

           SLB     complete draft of 13th Interim initial report - Stroock (5.3)                       5.30      689.00


10/25/2004 SLB     complete review of apps. and draft of 13th Interim final reports - David            7.80     1,014.00
                   Austern (1.7); Phillips Goldman (2.4) ; CIBC (3.7)

10/26/2004 DTW Review and revise 13th interim initial reports for Swidler Steptoe, Latham,             0.60          87.00
               and FTI (.4); review and revise Strook 13th initial report and short
               conference with S. Bossay regarding same (.2).

           CO      Update database with 05.24.04 through 06.30.04 Interim Fee Application              0.60          24.00
                   of Austern (.10); 06.04.04 through 06.30.04 Interim Fee Application CIBC
                   (.10); 05.24.04 through 06.30.04 Interim Fee Application of Swidler (.10);
                   09.04 Monthly Invoice of Bilzin (.10); 08.04 Monthly Invoice of Casner
                   (.10); 09.04 Monthly Invoice of Nelson (.10)
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                                                                                                   Hours        Amount

10/26/2004 SLB     complete draft of 13th Interim final report - Capstone (3.8) ; complete draft       8.20     1,066.00
                   of 13th Interim initial report - Steptoe (4.4)

10/27/2004 CO      Update database with 08.04 and 09.04 Monthly Invoice of Latham (.20);               0.40          16.00
                   09.04 Monthly Invoice of Duane (.10); 08.04 Monthly Invoice of Woodcock
                   (.10)

           SLB     complete drafts and computations of 13th Interim final reports - RPWB,              8.20     1,066.00
                   Lukins, Elzufon (5.3) ; complete draft of 13th Interim final report -
                   Blackstone (2.9)

           JAW detailed review of Kirkland August, 2004, monthly invoice (7.5)                         7.50     1,012.50


10/28/2004 PGS Electronic filing with court of September 2004 CNO of WHS                               0.10           8.00


           PGS Preparation of the September 2004 CNO for WHS                                           0.10           8.00


           SLB     complete draft of 13th Interim final report - Swidler Berlin (7.7) ; update         8.40     1,092.00
                   Grace flow chart (.7)

           JAW detailed review of Kirkland August, 2004, monthly invoice (5.6); draft                  7.60     1,026.00
               summary of same (2.0)

10/29/2004 SLB     compete drafts of 13th Interim final reports - Goodwin (3.2) ; Kramer (2.8) ;       8.70     1,131.00
                   begin draft of 13th Interim initial report - Deloitte (2.7)

           JAW detailed review of Woodcock August, 2004, monthly invoice (1.7); draft                  1.80      243.00
               summary of same (0.1)

           JBA     Update database with Hamilton 9.04 e-detail                                         0.10           4.00




           For professional services rendered                                                      221.40 $28,560.00

           Additional Charges :

                                                                                                      Price

Third party copies & document prep/setup of September 2004 Monthly Invoice of WHS                     23.37          23.37
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                                                                                                     Price     Amount

Third party copies & document prep/setup of Initial Report of Wallace, Capstone and Kirkland          2.93          2.93
for the period 04.01.04 - 06.30.04

Third party copies & document prep/setup of Initial Report of PwC for the period 04.01.04 -           2.67          2.67
06.30.04

Third party copies & document prep/setup of Initial Report of Blackstone for the period               0.89          0.89
01.01.04 - 06.30.04

Third party copies & document prep/setup of Initial Report of Carella for the period 04.01.04 -       0.89          0.89
06.30.04



            Total costs                                                                                         $30.75



            Total amount of this bill                                                                        $28,590.75




Timekeeper Summary
Name                                                                                    Hours       Rate        Amount
Courtney Orent                                                                           3.40      40.00        $136.00
Doreen T Williams                                                                        1.30     145.00        $188.50
James A Wehrmann                                                                        47.90     135.00      $6,466.50
Jeff B. Allgood                                                                          1.60      40.00         $64.00
Priscilla G Stidham                                                                      1.20      80.00         $96.00
Stephen L. Bossay                                                                      165.80     130.00     $21,554.00
Warren H Smith                                                                           0.20     275.00         $55.00
